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                         IN THE UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF NEW YORK



Humberto Rivera Jr,

Plaintiff,                                               22 CV 1874



       -against-                                 AMENDED COMPLAINT

TOWN OF NEW FAIRFIELD,

NEW FAIRFIELD CONNECTICUT POLICE,

FIRST SELECTMEN PATRICIA DEL MONACO
in her official and individual capacities,     TRIAL BY JURY DEMANDED

SELECTMEN KHRIS HALL., in his official
and individual capacities,

SELECTMEN KIM HANSEN., in her official
and individual capacities.

SGT ADAM WAGNBLAS,. In his official
and individual capacities.

PO/ TROOPER STEVENSON., in his official and individual
Capacities.

PO/TROOPER JOHN DOE ONE(1)., In his official
and individual capacities.

PO/TROOPER JOHN DOE TWO(2)., In his official
and individual capacities.

PO/TROOPER JOHN DOE (3)., In his official
and individual capacities.

PO/TROOPER JOHN DOE (4)., In his official
and individual capacities.

Defendants
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                                      AMENDED COMPLAINT


Reason(s) for amendment are due to the court name in the caption, being incorrect in complaint

with typing errors now standing corrected.

Here comes,Humberto Rivera Jr., hereinafter the Plaintiff, for his claim sues Town of New

Fairfield, Connecticut, Connecticut Police/trooper department, First Selectmen Patricia Del

Monaco, Selectmen Khris Hall, Selectmen Kim Hansen, SGT Adam Wagnblas. PO last name

Stevenson, PO John Doe one(1), PO John Doe two(2), PO John Doe three(3), PO John Doe

four (4), hereinafter the defendant(s).



                                   JURISDICTIONAL ALLEGATIONS

1. In this case Diversity of Citizenship is the basis for federal court jurisdiction.

2. This is an action for money damages in excess of $75,000.

3. At all times material to this lawsuit, Humberto Rivera Jr was and is a citizen of New York State

or if not lawfully admitted for permanent residence in the United States of America, a citizen or

subject of the foreign New York State.

4. At all times material to this lawsuit, the defendant City of New Fairfield, Connecticut, New

Fairfield police department, SGT Adam Wagnblas, PO/Trooper last name Stevenson,

PO/Trooper John Doe one (1), PO/TROOPER John Doe two (2), PO/TROOPER John Doe

three (3), PO/TROOPER John Doe (4), were/are employed Police officers, troopers, residents,

citizens, and governmental agencies of New Fairfield, Connecticut.

5. All acts necessary or precedent to the bringing of this lawsuit occurred or accrued in Putnam

County, New York.

6. This court has jurisdiction.

                                  GENERAL FACTUAL ALLEGATIONS
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7. This is an action for money damages pursuant to 42 U.S.C. § 1983 and 1988 the Fourth and

Fourteenth Amendments to the United States Constitution, and under the law of the State of

New York against first selectmen Patricia Del Monaco, Selectmen Khris Hall, Selectmen Kim

Hansen, SGT Adam Wagnblas, PO/ Trooper Stevenson,PO/Trooper John Doe one(1),

PO/Trooper John Doe two(2), PO/Trooper John Doe three(3), PO/Trooper John Doe four(4),

Police Officers/Troopers of the town of New Fairfield in their individual and official capacities and

against the town of New Fairfield, Connecticut and New Fairfield Connecticut police hereinafter

referred to as defendant(s).

8. On or about March 2, 2019 at about 11:15 pm, with no probable cause nor exigent

circumstance, New Fairfield, Connecticut Police seized our daughter, a child, from our home

putting her in danger.

9. The defendants proceeded to enter Plaintiffs’ home out of the defendants’ jurisdiction.

10. Defendants didn’t have permission from Plaintiff to enter the home warrantless to search

and seize.

11. Defendant’s conduct was outrageous and intolerable as he came into the Plaintiff’s home

without permission while the Plaintiff and family slept.

12. Defendants vandalized the Plaintiff’s home as they entered warrantless.

13. Defendant Stevenson yelling Plaintiffs’ name in the bedroom where Plaintiff slept woke him

up leaving the Plaintiff in a state of terror.

14. Defendant Stevenson alongside PO John Doe (1) asked Plaintiff if he was intoxicated.

15. When Plaintiff answered “no”, the defendant stated “you don’t look intoxicated.”

16. The Plaintiff was not intoxicated, incapacitated, a threat to the safety of himself or others, or

disorderly.

17. The defendants acknowledged there were neither exigent circumstances nor probable

cause for the intrusion into the Plaintiff’s home when defendant Stevenson stated “it sucks that

they treat you guys this way.”
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18. The Plaintiff told defendants Stevenson and PO John Doe (1) “You guys have to leave my

home because you are violating my rights”.

19. The defendants continued to imprison the Plaintiff in his home for almost an hour.

20. The Plaintiff's questions went unanswered as he concernly asked if the defendants had

Identified the caller that prompted the defendant into the Plaintiff’s home.

21. The defendants acknowledged there were neither exigent circumstances nor probable

cause for the intrusion into the Plaintiff’s home when PO John Doe (2) walked into the home as

PO John Doe (3) opened the door for him from outside of the home and stated: “I know it

doesn’t look right but sometimes it’s better this way.”

22. PO John Doe (3) stood guard in front of the door while speaking to PO John Doe (4) who

was standing outside of the door in the front lawn stated “he isn’t intoxicated.”

23. Plaintiff Humberto Rivera Jr. claims PO Stevenson, PO John Doe (1), PO John Doe (2), PO

John Doe (3), PO John Doe (4), made a warrantless entry, unreasonable search and seizure of

his and daughter's person,houses,papers,and effects.

24. Falsely imprisoned Plaintiff, inflicting emotional distress, trespassing on Plaintiff’s property.

25. Plaintiff alleges that the unconstitutional violations were committed as a result of the policies

and customs of the Town of New Fairfield, Connecticut and the Connecticut Police/Trooper

Department.

26. The Town of New Fairfield and Connecticut Police,Trooper Department are liable under the

theory of respondeat superior for the torts committed by Defendants PO Stevenson,

PO(1)PO(2),PO(3),PO(4).

27. Plaintiff re-alleges that these unconstitutional violations were committed as a result of the

failure to train, policies and customs of First Selectmen Patricia Del Monaco, Selectmen Khris

Hall, Selectmen Kim Hansen, SGT Adam Wagnblas.

28. The defendants are liable under the superiors responsible for training programs for the torts

committed by Defendants PO Stevenson, PO(1), PO(2), PO(3), PO(4).
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29. As a direct and proximate result of the acts of defendant(s), Plaintiff suffered the following

injuries and damages:

   a. The defendant caused the Plaintiff numerous injuries.

   b. The defendant violated Humberto, his daughter and his familys’ constitutional rights 4th

        and 14th amendments.

   c. The actions of the defendant endangered the child’s psychological well-being, autonomy,

        and relationship to her family.

   d. The defendant caused the Plaintiff numerous injuries.

   e. That New Fairfield Police unreasonably trespassed into the home violating Humbertos’

        constitutional rights.

   f.   That defendant vandalized the home to gain unlawful entry to the home.

   g. The defendant abused their power under the color of law

   h. The defendants imprisoned the Plaintiff in his own home while searching his property

        without exigent circumstances nor probable cause.

   i.   Plaintiff was intimidated, shocked as he was surrounded in his property and home by

        numerous New Fairfield police officers without production of a warrant.

   j.   The manner in which the defendant woke the Plaintiff, resulted in injuries to the Plaintiff’s

        hands, wrist, neck, back and knees.

   k. Medically diagnosed sleep disorder.

   l.   Trauma to the Plaintiff as it debilitated mental state putting a strain on family

        relationships, i.e.father-daughter relationship;

   m. Medically diagnosed depression and anxiety;

   n. Medically diagnosed severe Post-traumatic Stress Disorder.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with
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such other and further relief as the Court may deem reasonable and just under the

circumstances. There are witnesses.



                         AS AND FOR THE FIRST CAUSE OF ACTION

42 U.S.C. § 1983 against defendant(s) PO Stevenson, PO John Doe (1), PO John Doe (2),

                               PO John Doe (3), PO John Doe (4).

30. Plaintiff realleges and restates and incorporates by reference paragraphs 1-29.

31. Plaintiff claims damages under 42 U.S.C. § 1983 for the injuries and damages set forth

above against defendant(s) PO Stevenson, PO John Doe (1), PO John Doe (2), PO John Doe

(3), PO John Doe (4), for violation of his constitutional rights under color of law.

32. The defendants proceeded to seize the Plaintiff’s daughter from her home without the

Plaintiff’s consent.

33. The defendants proceeded a warrantless search of the home without consent.

34. The Defendant(s) violated the Plaintiff’s and his daughters’ 4th and 14th amendment rights.

35. Violation of his constitutional rights under the Fourth 4th Amendment to the United States, to

be secure in their persons, houses, papers and effects, against unreasonable searches and

seizures, shall not be violated.

36. Violation of his constitutional rights under the fourteenth 14th Amendment to the United

States. No state shall deprive any person born in the United States life, liberty, or property

without due process of law, nor deny to any person within its jurisdiction the equal protection of

the laws.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.
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                       AS AND FOR THE SECOND CAUSE OF ACTION

False imprisonment against defendant(s) PO Stevenson, PO John Doe (1), PO John Doe

                            (2), PO John Doe (3), PO John Doe (4).

37. Plaintiff realleges and restates and incorporates by reference paragraphs 1-36

38. Defendants PO Stevenson, PO(1), PO(2), PO(3), PO(4), falsely imprisoned Plaintiff against

his will.

39. Defendants had no reason to restrain Plaintiff because they did not reasonably believe that

there were exigent circumstances nor probable cause.

40. Defendant falsely imprisoned Plaintiff for almost an hour.

41. Defendant kept the Plaintiff’s daughter out of the house in cold weather.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.



                        AS AND FOR THE THIRD CAUSE OF ACTION

Trespassing against defendant(s) PO Stevenson, PO John Doe (1), PO John Doe (2), PO

                                John Doe (3), PO John Doe (4).

42. Plaintiff realleges and restates and incorporates by reference paragraphs 1-41.

43. Defendants vandalized and unlawfully forced their way into the home to enter warrantless.

44. Defendant trespassed into the Plaintiff’s home and property without permission as his family

was sound asleep.

45. The defendant continued unlawful entry into the home entering into the child’s bedroom

where the Plaintiff was sleeping.
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46. That the defendants stood in the Plaintiff’s front yard standing guard by the front door of the

home trespassing on the property for almost an hour.

47.The defendants acknowledged there were no exigent circumstances nor probable cause for

the intrusion into the Plaintiff’s home.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.



                        AS AND FOR THE FOURTH CAUSE OF ACTION

 negligence against defendant(s) PO Stevenson, PO John Doe (1), PO John Doe (2), PO

                                  John Doe (3), PO John Doe (4).

48. Plaintiff realleges and restates and incorporates by reference paragraphs 1-47.

49. Defendant PO Stevenson’s conduct was outrageous and intolerable as he came into the

Plaintiff’s home and bedroom where Plaintiff slept yelling Plaintiffs’ name.

50. Defendants terrorized the Plaintiff yelling trying to wake him while he was sound asleep.

51. The defendant frightened the Plaintiff awake causing injuries to the Plaintiff’s hands, knees,

neck, wrist, back, head.

52. Plaintiff woke up staring at the floor as he tried to catch his breath and gather what was

going on.

53. The defendant acted intentionally when PO Stevenson stated “It sucks that they treat you

guys this way” yet continued to grossly neglect due diligence and care.

54. The defendants avoided answering any of the Plaintiff’s questions regarding the search and

seizure of his person, papers and effects.

55. The defendant acted with gross negligence when the PM failed to identify the caller.
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WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.



                         AS AND FOR THE FIFTH CAUSE OF ACTION

infliction of Emotional distress against defendant(s) PO Stevenson, PO John Doe (1), PO

                       John Doe (2), PO John Doe (3), PO John Doe (4).

56. Plaintiff realleges and restates and incorporates by reference paragraphs 1-55.

57. The defendant’s acts caused severe emotional distress.

58. Defendant continued his reckless disregard even when he knew there were no exigent

circumstances.

59.The defendants acknowledged there were neither exigent circumstances nor probable cause

for the intrusion into the Plaintiff’s home when PO John Doe (2) walked into the home as PO

John Doe (3) opened the door for him from outside of the home and stated: “I know it doesn’t

look right but sometimes it’s better this way.”

60. Then the defendants should have known it was reasonably foreseeable that the acts would

cause severe emotional distress.

61. The defendants’ conduct was so indecent, atrocious, odious, uncivilized and intolerable that

the Plaintiff is embarrassed, ashamed and displaced in his community.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.
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                            AS AND FOR THE SIXTH CAUSE OF ACTION

42 U.S.C. 1983 against the town of New Fairfield, Connecticut, New Fairfield,Connecticut

Police Department, first selectmen Patricia Del Monaco, Selectmen Khris Hall, Selectmen

                                   Kim Hansen, SGT Adam Wagnblas.

62. Plaintiff realleges and restates and incorporates by reference paragraphs 1-61

63. Prior to date of the cause of this action the New Fairfield, Connecticut Police/ Trooper

Department, first selectmen Patricia Del Monaco, Selectmen Khris Hall, Selectmen Kim Hansen,

developed and maintained customs or policies exhibiting deliberate indifference to the

constitutional rights of persons in the Town of New Fairfield, Connecticut which caused the

violation of Plaintiffs’ rights.

64. It was the policy and/or custom of the New Fairfield, Connecticut Police Department, first

selectmen Patricia Del Monaco, Selectmen Khris Hall, Selectmen Kim Hansen, to fail to

exercise reasonable care in hiring its police officers, including Defendants PO Stevenson, PO 1,

PO 2, PO 3, PO 4 thereby failing to adequately prevent constitutional violations on the part of its

police officers.

65. It was the policy and/or custom of the New Fairfield, Connecticut Police Department, first

selectmen Patricia Del Monaco, Selectmen Khris Hall, Selectmen Kim Hansen, SGT Adam

Wagnblas, to inadequately supervise and train its police officers, including Defendants PO

Stevenson, PO 1, PO 2, PO 3, PO 4, thereby failing to adequately discourage further

constitutional violations on the part of its police officers.

66. As a result of the above described policies and customs, police officers of the Town of New

Fairfield, Connecticut including Defendants PO Stevenson, PO 1, PO 2, PO 3, PO 4, believed

that their actions would not be properly monitored by supervisory officers and that misconduct

would not be investigated or sanctioned, but would be tolerated.
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67. The above described policies and customs demonstrate a deliberate indifference on the part

of the Town of New Fairfield to the constitutional rights of persons within the Town of New

Fairfield, and were the cause of the violations of Plaintiff’s rights alleged herein.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.

                       AS AND FOR THE SEVENTH CAUSE OF ACTION

                         Respondeat Superior of Town of New Fairfield

68. Plaintiff realleges and restates and incorporates by reference paragraphs 1-67.

69. Defendant Town of New Fairfield, Connecticut is liable for the trespassing, negligence, false

imprisonment, and infliction of emotional distress committed against Plaintiff by the Defendants,

PO Stevenson, PO 1, PO 2, PO 3, PO 4, The Town of New Fairfield, Connecticut employed the

officers, who committed trespassing,negligence, false imprisonment, infliction of emotional

distress,while acting in the scope of their employment.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.



                        AS AND FOR THE EIGHTH CAUSE OF ACTION

   for pain and suffering against the Town of New Fairfield, Connecticut, New Fairfield

Connecticut Police/trooper department, First Selectmen Patricia Del Monaco, Selectmen
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 Khris Hall, Selectmen Kim Hansen, SGT Adam Wagnblas. PO last name Stevenson,. PO

              John Doe one 1, PO John Doe 2, PO John Doe 3, PO John Doe 4.

70.Plaintiff realleges and restates and incorporates by reference paragraphs 1-69.

71. Unlawful actions by the defendants are irreparable.

72.The defendants diminished the Plaintiff’s earning power.

73.The defendants actions were degrading and humiliating to the Plaintiff’s family and

community.

74. As a result, Plaintiff experienced pain and suffering.

75. Plaintiff suffers mental anguish, sleeping disorders, loss of enjoyment of life, fear,

depression, anxiety, shock, embarrassment.



WHEREFORE Humberto Rivera Jr Plaintiff moves this Honorable Court to enter an Order for

monetary, punitive, damages in excess of $1,000,000 against all the Defendants, together with

such other and further relief as the Court may deem reasonable and just under the

circumstances.



Plaintiff’s address

PO BOX 892

BREWSTER, NEW YORK 10509

Tel: 845-581-0051

email : junyour15@gmail.com



                                                                       s/Humberto Rivera, Jr.
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                         IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


Humberto Rivera Jr.

Plaintiff,                                               22 CV 1874

Against,

TOWN OF NEW FAIRFIELD,

NEW FAIRFIELD CONNECTICUT POLICE,

FIRST SELECTMEN PATRICIA DEL MONACO
in her official and individual capacities,

SELECTMEN KHRIS HALL., in his official
and individual capacities,

SELECTMEN KIM HANSEN., in her official
and individual capacities.

SGT ADAM WAGNBLAS,. In his official
and individual capacities.

PO/ TROOPER STEVENSON., in his official and individual
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PO/TROOPER JOHN DOE ONE(1)., In his official
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PO/TROOPER JOHN DOE TWO(2)., In his official
and individual capacities.

PO/TROOPER JOHN DOE (3)., In his official
and individual capacities.

PO/TROOPER JOHN DOE (4)., In his official
and individual capacities.

Defendants
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